 Case 2:23-cv-02687-SVW-JC Document 1 Filed 04/10/23 Page 1 of 7 Page ID #:1



 1   JOHN M. BEGAKIS (Bar No. 278681)
     john@altviewlawgroup.com
 2   SHEENA B. TEHRANI (Bar No. 326373)
     sheena@altviewlawgroup.com
 3   ALTVIEW LAW GROUP, LLP
     12100 Wilshire Boulevard, Suite 800
 4   Los Angeles. California 90025
     Telephone: (310) 230-5580
 5   Facsimile: (562) 275-8954
 6   Attorneys for Plaintiff
     THAT ONE VIDEO ENTERTAINMENT, LLC,
 7   a California limited liability company
 8
 9
                               UNITED STATES DISTRICT COURT
10
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     THAT ONE VIDEO                          CASE NO:
12   ENTERTAINMENT, LLC, a
     California limited liability company,
13                                           COMPLAINT FOR:
                  Plaintiff,
14
           vs.                                 1. Declaratory Relief
15                                             2. Breach of Contract
     KOIL CONTENT CREATION PTY
16   LTD., an Australian proprietary
     limited company doing business as
17   NOPIXEL; MITCHELL CLOUT, an
     individual; and DOES 1-25,
18   inclusive,
19                Defendants.
20
21
22
23
24
25
26
27
28


                                        COMPLAINT
 Case 2:23-cv-02687-SVW-JC Document 1 Filed 04/10/23 Page 2 of 7 Page ID #:2



 1           Plaintiff THAT ONE VIDEO ENTERTAINMENT, LLC, a California limited
 2   liability company (“TOVE” or “Plaintiff”), by and through its undersigned counsel of
 3   record, hereby alleges the following:
 4                                       THE PARTIES
 5           1.   Plaintiff TOVE is, and at all relevant times herein alleged was, a limited
 6   liability company existing under and by virtue of the laws of the State of California,
 7   with its principal place of business located at 2459 W. 208th Street, Suite #101,
 8   Torrance, California 90501.
 9           2.   Plaintiff is informed and believes and, on the basis of such information
10   and belief, herein alleges that Defendant KOIL CONTENT CREATION PTY LTD.
11   (“NoPixel”) is, and at all relevant times herein was, an Australian proprietary limited
12   company, with its principal place of business located at Docklands, Victoria, Australia
13   3008.
14           3.   Plaintiff is informed and believes and, on the basis of such information
15   and belief, herein alleges that Defendant MITCHELL CLOUT (“Clout”) is, and at all
16   relevant times herein was, an individual residing in Victoria, Australia.
17           4.   The true names and capacities of DOES 1 through 25, inclusive, whether
18   individual, corporate, associate or otherwise, are unknown to Plaintiff at this time,
19   who therefore sues said defendants by such fictitious names, and when the true names,
20   capacities, and relationships of such defendants are ascertained, Plaintiff will ask
21   leave of this Court to amend Plaintiff’s Complaint to assert the same.
22           5.   Plaintiff is informed and believes and, on the basis of such information
23   and belief, herein alleges that each defendant named in this Complaint was, at all
24   times herein mentioned, and now is, the agent and/or employee of each of the other
25   defendants herein, and was at all times acting within the course and scope of said
26   agency and/or employment. When referring to “Defendants” herein, Plaintiff intends
27   to include Defendants NoPixel, Clout, and all other defendants.
28   ///
                                                 1
                                          COMPLAINT
 Case 2:23-cv-02687-SVW-JC Document 1 Filed 04/10/23 Page 3 of 7 Page ID #:3



 1                                 JURISDICTION & VENUE
 2         6.     This Court has subject matter jurisdiction over Plaintiffs’ claims under
 3   the Declaratory Judgment Act, 28 U.S.C. § 2201, as well as supplemental jurisdiction
 4   over all additional non-federal claims under 28 U.S.C. § 1367.
 5         7.     This Court has personal jurisdiction over Defendants because, among
 6   other things, Defendants are conducting business in the State of California and in this
 7   judicial district, the acts of infringement complained of herein occurred in the State of
 8   California and in this judicial district, and Defendants have caused injury to Plaintiff
 9   within the State of California, and in this judicial district.
10         8.     Venue is proper in the Central District of California pursuant to 28
11   U.S.C. § 1391(b) because a substantial part of the events giving rise to this Complaint
12   occurred in this District.
13                   FACTS COMMON TO ALL CAUSES OF ACTION
14         9.     TOVE is a content creation and business management company that
15   employs various individuals in the videogame industry. Specifically, in this instance,
16   TOVE hired Daniel Tracey, a talented software developer and streaming personality
17   professionally known as “DW,” to work as Lead Developer for TOVE. Because Mr.
18   Tracey is a foreign national working in the United States (“U.S.”), and TOVE is a
19   U.S.-based company, TOVE also sponsored Mr. Tracey’s work visa.
20         10.    Pursuant to the terms of Mr. Tracey’s employment relationship, whereby
21   Mr. Tracey was compensated well for his services as a software developer, TOVE was
22   permitted to contract with third parties for the services of Mr. Tracey, in exchange for
23   Mr. Tracey’s agreement that TOVE would be entitled to receive all compensation paid
24   by any such third parties for Mr. Tracey’s services or otherwise.
25         11.    NoPixel operates a videogame server, wherein individuals who play the
26   “open world” videogame entitled “Grand Theft Auto V” (the “Game”) can “role-play”
27   with other individuals in a closed Game environment on such server (the “NoPixel
28   Server”). The NoPixel Server is the most successful role-play server of its kind,
                                                    2
                                            COMPLAINT
 Case 2:23-cv-02687-SVW-JC Document 1 Filed 04/10/23 Page 4 of 7 Page ID #:4



 1   boasting tens of thousands of members, and generating millions of dollars a year in
 2   revenue by charging an application and membership fee to individuals who wish to
 3   gain access to, and role-play in, the Game on the NoPixel Server.
 4         12.    In or about early 2020, NoPixel desired to engage Mr. Tracey, in his role
 5   as a software developer, to make significant updates to the NoPixel Server (the
 6   “Services”). Accordingly, NoPixel contracted with TOVE for the services of Mr.
 7   Tracey to render the Services as an independent contractor for NoPixel, in exchange
 8   for NoPixel’s agreement to pay fifty percent (50%) of Game revenue to TOVE by way
 9   of Mr. Tracey (the “Agreement”). At no point during the entirety of such arrangement,
10   however, did Mr. Tracey or anyone for TOVE ever execute anything in writing with
11   anyone for NoPixel setting forth that the contributions stemming from Mr. Tracey’s
12   Services were rendered as works-made-for-hire, or were otherwise owned by NoPixel.
13         13.    From in or about early 2020 to in or about December of 2022, Mr. Tracey
14   rendered the Services to NoPixel. In the process of rendering such Services, Mr.
15   Tracey contributed significant creative contributions to both the “front end” visual
16   aesthetics of the Game, and – far more importantly – to the “back end” information
17   management systems that allow the NoPixel Server to function. Specifically, Mr.
18   Tracey designed and created the entire payment processing system utilized by the
19   NoPixel Server, which has facilitated the processing of millions of dollars in payments
20   to Defendants.
21         14.    At all relevant times during Mr. Tracey’s engagement with NoPixel, Mr.
22   Tracey also participated in the Game on the NoPixel Server, and was an important
23   character in the role-playing community. Accordingly, Mr. Tacey gained significant
24   notoriety, and therefore revenue, from “streaming” his participation in the Game on
25   the NoPixel Server via the online live streaming platform Twitch. By the end of 2022,
26   Mr. Tracey had amassed nearly 245,000 followers to his Twitch streaming channel as
27   a direct and proximate result of his activities on the NoPixel Server.
28         15.    However, in or about late 2022, a personal dispute developed between
                                                 3
                                          COMPLAINT
 Case 2:23-cv-02687-SVW-JC Document 1 Filed 04/10/23 Page 5 of 7 Page ID #:5



 1   Mr. Tracey and Defendant Clout, NoPixel’s founder and owner. Such dispute
 2   ultimately culminated, on or about December 27, 2022, in Clout terminating Mr.
 3   Tracey’s role with NoPixel and, thus, his authority to access to the NoPixel Server.
 4         16.    However, Clout never informed TOVE or Tracey of such termination, or
 5   subsequent restriction of access to the NoPixel Server.
 6         17.    Because Mr. Tracey received no notice of his termination whatsoever,
 7   Mr. Tracey subsequently logged onto the NoPixel Server as he normally would –
 8   completely unaware that such action could technically constitute unauthorized access
 9   to the NoPixel Server.
10         18.    Likely seeing such action as an opportunity to attack Mr. Tracey in
11   connection with their personal dispute, Defendants issued a formal public statement
12   on or about December 28, 2022, whereby Defendants claimed that a “former NoPixel
13   employee” had caused a data breach of the NoPixel Server. Almost immediately
14   thereafter, on or about December 31, 2022, Clout issued a follow-up public statement
15   via Twitch, wherein he identified Mr. Tracey as the “former NoPixel employee.”
16         19.    As a result of Defendants’ very serious allegations, Mr. Tracey was
17   removed from the NoPixel Server, thereby preventing him from streaming popular
18   Game content and generating revenue to TOVE therefrom.
19         20.    Accordingly, this Complaint necessarily results.
20                               FIRST CAUSE OF ACTION
21                                    (Declaratory Relief)
22         21.    Plaintiff repeats, realleges, and incorporates herein by this reference each
23   and every allegation contained in ¶¶ 1 through 20, as though set forth in full herein.
24         22.    An actual controversy has arisen and now exists between TOVE and
25   Defendants regarding the parties’ respective rights in and to any and all copyrights
26   derived from Mr. Tracey’s creative contributions to the NoPixel Server, and all
27   monies generated from the exploitation thereof.
28         23.    TOVE therefore seeks the Court’s determination as to whether TOVE is
                                                 4
                                          COMPLAINT
 Case 2:23-cv-02687-SVW-JC Document 1 Filed 04/10/23 Page 6 of 7 Page ID #:6



 1   entitled to assert a joint ownership interest in and to any and all copyrights derived
 2   from Mr. Tracey’s creative contributions to the NoPixel Server, pursuant to the
 3   Copyright Act.
 4         24.    Accordingly, an actual and justifiable controversy has arisen and now
 5   exists between TOVE and Defendants regarding TOVE’s claim to joint ownership of
 6   any and all copyrights derived from Mr. Tracey’s creative contributions to the
 7   NoPixel Server, and a declaration from this Court is therefore warranted under the
 8   Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., to establish such parties’
 9   respective rights and obligations.
10                               SECOND CAUSE OF ACTION
11                         (Breach of Contract Against All Defendants)
12         25.    Plaintiff repeats, realleges, and incorporates herein by this reference each
13   and every allegation contained in ¶¶ 1 through 24, as though set forth in full herein.
14         26.    Commencing in or about mid-2021, TOVE and NoPixel entered into the
15   Agreement for the Services of Mr. Tracey, in exchange for NoPixel’s agreement to
16   pay 50% of revenue generated from the NoPixel Server.
17         27.    Mr. Tracey provided the Services on behalf of TOVE to Defendants,
18   pursuant to the Agreement. TOVE has therefore performed all terms, conditions, and
19   covenants on its part to be performed pursuant to the Agreement. Notwithstanding the
20   terms thereof, Defendants have materially breached the Agreement in that they have
21   failed and refused, and continue to fail and refuse, to pay TOVE 50% of revenue
22   generated from the NoPixel Server. As a result of Defendants’ breach, there is now
23   due, owing and unpaid from Defendants an amount to be determined at trial but
24   exceeding the jurisdictional minimum of this Court, together with interest thereon at
25   the maximum rate allowed by law, for the Services provided by TOVE, via Mr.
26   Tracey, to NoPixel.
27         28.    Since in or about February 2023, demand has been made upon
28   Defendants by TOVE. Defendants have failed and refused to address the delinquent
                                                 5
                                          COMPLAINT
 Case 2:23-cv-02687-SVW-JC Document 1 Filed 04/10/23 Page 7 of 7 Page ID #:7



 1   balance, however, and there is now due, owing, and unpaid from Defendants to TOVE
 2   an amount to be determined at trial but exceeding the jurisdictional minimum of this
 3   Court, together with interest thereon at the maximum rate allowed by law.
 4                                 PRAYER FOR RELIEF
 5         WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
 6   them, as follows:
 7         1.    For a declaration of the rights and obligations of Plaintiff and Defendants
 8               as it relates to ownership of all copyrights in and to the relevant creative
 9               contributions to the development of the NoPixel Server;
10         2.    For an accounting of all revenues pertaining to, and derived from, the
11               NoPixel Server;
12         3.    For general damages in an amount to be proven at trial but exceeding the
13               jurisdictional minimum of this Court;
14         4.    For pre-judgment interest according to proof at trial; and
15         5.    For such other and further relief as this Court deems just and proper.
16
                                     Respectfully submitted,
17   Dated: April 10, 2023
                                     ALTVIEW LAW GROUP, LLP
18

19
                                     By:      /s/ John Begakis
20                                         JOHN M. BEGAKIS
                                           SHEENA B. TEHRANI
21                                         Attorneys for Plaintiff
                                           THAT ONE VIDEO
22                                         ENTERTAINMENT, LLC, a California
                                           limited liability company
23
24
25
26
27
28

                                                6
                                        COMPLAINT
